 20-01010-jlg   Doc 8   Filed 06/07/20 Entered 06/07/20 17:05:36   Main Document
                                      Pg 1 of 20


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                        UNITED STATES BANKRUPTCY COURT

                  FOR THE SOUTHERN DISTRICT OF NEW YORK

----------------------------------------x

In re:                                            :   Chapter 7

      ORLY GENGER,                                :   Case No. 19-10926-tmd

                                Debtor.           :

----------------------------------------x

DALIA GENGER,                                     :   Adv. P. No. 20-01010

                                Plaintiff,        :

                  -against-                       :   AMENDED COMPLAINT

ORLY GENGER, MICHAEL BOWEN, ARIE                  :
GENGER, ARNOLD BROSER, DAVID BROSER,
ERIC HERSCHMANN, THE GENGER LITIGATION            :
TRUST, ADBG LLC, TEDCO INC., and                  :
DEBORAH PIAZZA as chapter 7 trustee,
                                                  :
                                Defendants.
                                        :
----------------------------------------x

TO THE HON. JAMES L. GARRITY, JR., U.S.B.J:

            Dalia Genger (“Dalia”), by and through her undersigned

attorney, Ira Daniel Tokayer, Esq., as and for her Amended

Complaint herein, alleges as follows:
 20-01010-jlg    Doc 8   Filed 06/07/20 Entered 06/07/20 17:05:36   Main Document
                                       Pg 2 of 20


                             PRELIMINARY STATEMENT

            1.      By this action, Dalia seeks, inter alia, a

declaratory judgment recognizing a constructive trust and/or an

equitable lien imposed for her benefit on all property the

Debtor, Orly Genger (“Orly”), has realized from her beneficial

ownership of Dalia’s marital claim to the economic benefit of

794.40 shares of Trans-Resources, Inc. (the “Rights”), including

the Trump Notes (hereinafter defined), up to $12.25 million plus

interest.       The proceeds from such Rights have been diverted from

Dalia and misappropriated by Orly to insiders, including the

Trump Notes which have been transferred to Michael Bowen

(“Bowen”) for no legal consideration, with the actual and/or

constructive intent to hinder, delay and defraud Dalia’s

entitlement to such proceeds.

                                   THE PARTIES

            2.      Dalia, Debtor’s mother, is a 74 year old retired

homemaker who has received no support payments from her ex-

husband, Arie Genger (“Arie”), since their divorce in 2004.

Instead, Dalia has relied in key part for her retirement upon the

2004 Agreements (hereinafter defined) in which she contributed

her Rights in the family business in exchange for living expenses

as requested from her son and daughter out of the monetized

proceeds of the Rights.




                                          2
 20-01010-jlg    Doc 8   Filed 06/07/20 Entered 06/07/20 17:05:36   Main Document
                                       Pg 3 of 20


            3.      Orly, the Debtor in this bankruptcy case, is

Dalia’s daughter.        She is an individual who most recently claims

to reside in the State of Texas.

            4.      Bowen, is a natural person and Orly’s attorney

since 2015 as a partner at Kasowitz Benson and Torres LLP, who

resides upon information and belief in the State of New York.

Bowen holds the Trump Notes as an agent of Orly.                As Orly’s

attorney involved in the relevant events, Bowen knew of Dalia’s

interest in the Trump Notes prior to taking possession thereof.

Bowen falsely testified under oath and falsely represented to

various courts (a) that Orly has nothing to do with either the

Trump Notes or an additional $17.3 million that Orly received

from the Rights, and (b) that no written agreement exists with

respect to the disposition of the proceeds of the Trump Notes.

However, Kasowitz Benson and Torres LLP was a party and signatory

to a March 2017 escrow agreement which provides that Orly’s

purported debts to her husband will be paid off by the Trump

Notes.    It further provides her with joint signature authority,

together with her father, to direct about $8.5 million due to be

paid under the Trump Notes.

            5.      Arie is a natural person, Orly’s father and

Dalia’s ex-husband, who upon information and belief resides in

the State of Florida.         A substantial portion of the proceeds from

the Rights, approximately $17.3 million, were diverted by Orly to


                                          3
 20-01010-jlg    Doc 8   Filed 06/07/20 Entered 06/07/20 17:05:36   Main Document
                                       Pg 4 of 20


Arie’s creditors and/or business partners.              Arie knew of Dalia’s

interest in the monetized proceeds of the Rights, including the

Trump Notes, prior to falsely asserting his interest therein

because he materially participated in the events that gave rise

to Dalia’s constructive trust and/or equitable lien.                 Arie has

asserted on various occasions, most recently in a letter to Judge

Garrity, that Orly has never had an interest in the Trump Notes.

That assertion was made despite contrary recitations and

representations made by him in writing to various parties,

including the March 2017 escrow agreement discussed above.

            6.      David Broser (“Broser”) is a natural person who

upon information and belief resides in the State of New York, who

improperly received $17.3 million of Orly’s monetization of the

Rights for no consideration and for no value to Orly.                  Broser and

the entities related to him asserting an interest in the Trump

Notes on his behalf knew of Dalia’s interest in the monetized

proceeds of the Rights, including the Trump Notes, prior to

asserting their interest therein because they and/or their

officers and agents materially participated in the events that

gave rise to Dalia’s rights.           Broser filed a false affidavit

claiming he did not have documents reflecting what became of the

$17.3 million even though the money had earlier been transferred

in and through various accounts under his control and/or for his

benefit.    He also gave false sworn testimony asserting that no


                                          4
 20-01010-jlg    Doc 8    Filed 06/07/20 Entered 06/07/20 17:05:36   Main Document
                                        Pg 5 of 20


written agreement existed with respect to the disposition of the

Trump Notes, even though he is a signatory to such an agreement.

Broser asserted to Courts on various occasions that Orly has

never had an interest in the Trump Notes or the $17.3 million,

most recently in a letter to Judge Garrity.                That assertion was

made despite a contrary recitations in the March 2017 escrow

agreement which he executed.

            7.      Eric Herschmann (“Eric”) is a natural person,

Orly’s husband and, with Bowen, Orly’s attorney as a partner at

Kasowitz Benson and Torres LLP.             He most recently claims to

reside in the State of Texas.            Eric claims to have an interest in

the Trump Notes, which interest was created after Eric became

aware of Dalia’s interest therein.             Eric knew of Dalia’s interest

in the Trump Notes prior to asserting his interest therein

because he materially participated in the events that led to

their creation.          Eric asserted to Courts on various occasions

that Orly has never had an interest in the Trump Notes or the

$17.3 million realized from Orly’s monetization of the Rights,

most recently in a letter to Judge Garrity.                That assertion was

made despite contrary written recitations in the March 2017

escrow agreement that he executed.

            8.      The Genger Litigation Trust (the “Litigation

Trust”) refers to a purported trust whose purported co-trustees,

Lance Harris and David Broser, upon information and belief reside


                                           5
 20-01010-jlg    Doc 8   Filed 06/07/20 Entered 06/07/20 17:05:36   Main Document
                                       Pg 6 of 20


in the State of New York.          At one time, an account titled to the

Litigation Trust improperly received $17.3 million from Orly’s

monetization of the Rights for no consideration or value to Orly.

In a letter to Judge Garrity, the trustees of the purported

trust, asserted an interest in the Trump Notes for the Litigation

Trust.    The Genger Litigation Trust does not exist as a matter of

law, and even if it did, at no time was title to the Trump Notes

ever transferred to it.

            9.      ADBG LLC (“ADBG”) is a limited liability company

with its principal place of business in New York, whose managing

member upon information and belief is David Broser.                 ADBG is a

lender to Arie which, at one time, improperly received $17.3

million from Orly’s monetization of the Rights for no

consideration or value to Orly.            Further, ADBG improperly claims

to be entitled to in excess of $4 million of the Trump Notes.

ADBG has falsely asserted that Orly never had an interest in the

Trump Notes or the $17.3 million realized from Orly’s

monetization of the Rights, most recently in a letter to Judge

Garrity.    That assertion was made despite contrary written

recitations in the March 2017 escrow agreement which ADBG

executed through Broser.

            10.     Bowen, Arie, Broser, Eric, the Litigation Trust

(including Broser as Trustee thereof) and ADBG are collectively

referred to herein as the “Transferees.”


                                          6
 20-01010-jlg   Doc 8   Filed 06/07/20 Entered 06/07/20 17:05:36   Main Document
                                      Pg 7 of 20


            11.    Deborah Piazza, is the successor Chapter 7 trustee

in the underlying Chapter 7 bankruptcy case.

                           JURISDICTION AND VENUE

            12.    The Court has jurisdiction over this adversary

proceeding pursuant to 28 U.S.C. § 1334(b) and 28 U.S.C. §

157(a).    However, a motion to dismiss this bankruptcy case has

been filed by Sagi Genger on the ground that the case was filed

in violation of § 707 of the U.S. Bankruptcy Code.                 Should the

motion be granted, this Court would lack jurisdiction over this

adversary proceeding.

            13.    This dispute is a core proceeding pursuant to 28

U.S.C. § 157(b)(2)(A) and (J) as more particularly set out herein

below.

            14.    Venue is proper pursuant to 28 U.S.C. § 1409.

                             THE 2004 AGREEMENTS

            15.    In 2004, as part of her divorce from Arie, Dalia

relinquished marital rights in 794.40 shares (the “Rights”) of

Trans-Resources, Inc. (“TRI”) to her children, Orly and Sagi, in

exchange for their promise to set aside and pay funds received

therefrom in an amount equal to all dividends, distributions,

proceeds or other payments attributable to the shares (adjusted

for any splits or similar action), or any lesser amount upon

request by Dalia, for Dalia’s retirement.




                                         7
 20-01010-jlg   Doc 8   Filed 06/07/20 Entered 06/07/20 17:05:36   Main Document
                                      Pg 8 of 20


            16.    The promise was reflected in counter-signed

documents executed by Dalia and her two children (together, the

“2004 Agreements”).        The 2004 Agreements also provided for Dalia

to demand payment from Sagi who in turn had a right of indemnity

from Orly.      As explained by United States District Judge

Katherine B. Forrest, this back-to-back arrangement was created

as a result of Orly’s physical absence from the United States

when Dalia transferred the Rights.

            17.    Specifically, a counter-signed letter between Sagi

and Dalia, dated October 30 2004, provides in substantive part:

            Dear Mom,

            This letter confirms our understanding with
            respect to certain payments that I am
            prepared to make to you in consideration of
            the following. My sister Orly and I are
            benefiting [sic] by the receipt of a total of
            794.40 shares of Trans-Resources, Inc.
            ("TRI"), or beneficial interests in those
            shares, by trusts for our benefit. In
            reliance on this letter and in consideration
            of the trusts' receipt of these shares and
            other consideration, you are giving up
            valuable marital rights, and you desire
            further assurance that you will have
            sufficient funds to support your lifestyle.

            If you, in your sole and absolute discretion,
            from time to time desire funds to support
            your lifestyle, you may request in writing
            that I make payment to you as provided
            in this letter. Promptly upon receipt of the
            request, I will pay to you (1) an amount
            equal to all dividends, distributions,
            proceeds or other payments attributable to
            794.40 shares of TRI (adjusted for any splits
            or similar action) that have previously been
            paid to Orly, me or any trust for the benefit

                                         8
 20-01010-jlg   Doc 8   Filed 06/07/20 Entered 06/07/20 17:05:36   Main Document
                                      Pg 9 of 20


            of either of us, less any amounts previously
            paid to you pursuant to this letter, or (2)
            any lesser amount indicated in your request.

            We intend for this letter to be a binding
            agreement under New York law.

            18.    A subsequent counter-signed letter between Sagi

and Orly, dated November 10, 2004, provides in substantive part:

            Dear Orly:

            In connection with the attached letter (the
            "Promise") from me to our mother, Dalia
            Genger, dated October 30, 2004, you agree to
            indemnify, defend, and hold me harmless, for
            and against one-half (½) of any and all
            payments, liabilities, damages, claims,
            actions, losses, settlements, penalties,
            judgments or obligations (each a "Claim"),
            including my reasonable counsel and other
            professional fees, expenses and costs, which
            arise from my undertakings in the Promise.

            19.    In a 2015 summary judgment decision, Judge Forrest

found that the 2004 Agreements were extant and enforceable, as

follows:

            As part of the divorce, Dalia agreed to
            convey her marital rights to 794.40 shares of
            TRI to trusts benefitting Sagi and Orly (the
            “Sagi Trust” and the “Orly Trust,”
            respectively) in exchange for a commitment by
            Sagi and Orly to financially support her.
            This arrangement was effectuated via three
            documents.

            First, Dalia and Arie signed a stipulation of
            settlement finalizing the terms of their
            divorce settlement (the “2004 Divorce
            Stipulation”), which was fully executed on
            October 30, 2004. In the 2004 Divorce
            Stipulation, Dalia promised to convey equal
            interests in a total of 794.40 shares of TRI
            to the Orly Trust and the Sagi Trust. The

                                         9
 20-01010-jlg   Doc 8   Filed 06/07/20 Entered 06/07/20 17:05:36   Main Document
                                     Pg 10 of 20


            2004 Divorce Stipulation contains an “entire
            understanding” clause, which is subject to a
            carve-out for other agreements . . .” entered
            into concurrently herewith.” . . .

            The second was a letter signed by Sagi and
            Dalia dated October 30, 2004 (the “2004
            Promise”). In the 2004 Promise, Sagi agreed
            to pay Dalia up to an amount equal to all
            dividends, distributions, proceeds or other
            payments attributable to the TRI shares, upon
            Dalia’s demand. The 2004 Promise also states
            that the agreement is made “in consideration
            of” the following: “Orly and [Sagi] are
            benefitting by the receipt of a total of
            794.40 shares of [TRI], or beneficial
            interests in those shares, by trusts for
            [their] benefit.” . . .

            At the time the 2004 Promise was signed, Orly
            was vacationing in Fiji, and thus could not
            contemporaneously sign the 2004 Promise.

            However, before Sagi signed the 2004 Promise,
            Orly verbally agreed to indemnify Sagi for
            50% of the payments he would have to make
            under the 2004 Promise.

            The third agreement was a letter signed by
            Sagi and Orly dated November 10, 2004 (the
            “2004 Indemnity”). In the 2004 Indemnity,
            Orly agreed to indemnify Sagi “for and
            against one-half (½) of any and all payments,
            liabilities, damages, claims, actions,
            losses, settlements, penalties, judgments or
            obligations, including [Sagi’s] reasonable
            counsel and other professional fees, expenses
            and costs, which arise from [Sagi’s]
            undertakings in the [2004 Promise].”

Genger v. Genger, 76 F. Supp. 3d 488, 492-494 (S.D.N.Y. 2015).

            20.    Since the 2004 Agreements, Orly has devised

devious and fraudulent schemes to deprive Dalia of her bargain

with the intent to hinder, delay and defraud Dalia, including by


                                        10
 20-01010-jlg   Doc 8   Filed 06/07/20 Entered 06/07/20 17:05:36   Main Document
                                     Pg 11 of 20


fraudulently transferring and encumbering Orly’s $32.3 million of

the proceeds from the monetization of the very Rights that were

to be set aside for Dalia’s retirement in order to nullify

Dalia’s ability to reclaim those Rights.

                          ORLY MONETIZES THE RIGHTS

            21.    Two judgments have been entered against Orly in

the United States District Court for the Southern District of New

York determining that $12.25 million of the monetization of the

Rights remain subject to Dalia’s clawback.             Both judgments were

unanimously affirmed by the Second Circuit.

            22.    Specifically, the court found that Orly had

monetized her interest in the Rights by virtue of a settlement

with the Trump Group (the “2013 Settlement Agreement”).                 U.S.D.J.

Forrest found:

            On June 16, 2013, Orly entered into a
            settlement agreement (the “2013 Settlement
            Agreement”) with the Trump Group and others
            regarding her claims to ownership of the TRI
            shares. The agreement provides that Orly,
            Arie, and their litigation funders, will
            receive $32.3 million in exchange for a
            declaration that the Trump Group owns “all
            right, title and interest (beneficially, of
            record, and otherwise)” to the TRI shares,
            and that Orly waives all of her claims to the
            TRI shares...

Genger v. Genger, 76 F. Supp. 3d at 494 (S.D.N.Y. 2015).

            23.    The $32.3 million payment pursuant to the 2013

Settlement Agreement consisted of $17.3 million in cash up front

and $15 million in two un-matured promissory notes of $7.5

                                        11
 20-01010-jlg   Doc 8   Filed 06/07/20 Entered 06/07/20 17:05:36   Main Document
                                     Pg 12 of 20


million each (the “Trump Notes”), made payable to Bowen as Orly’s

agent which are in Bowen’s possession and remain outstanding.

          NO TRANSFEREE IS A GOOD FAITH PURCHASER FOR VALUE

            24.    Arie claims an interest in Orly’s assets including

the Trump Notes as evidenced by a UCC lien he filed in 2018,

immediately after summary judgment was granted by Judge Forrest

against Orly.      Arie’s UCC lien is void because the debt it

purports to secure is wholly contrived and false, and further

because Arie knew of the events that led to the creation of

Dalia’s constructive trust and/or equitable lien prior to the

filing of the UCC lien as he participated in all the events.

            25.    Arie also claims a control interest in the Trump

Notes through the March 2017 escrow agreement.              Arie’s alleged

interest in the Trump Notes is void because the U.S. District

Court has already adjudicated that the Trump Notes are related

solely to the monetization of Orly’s interest in the Rights and

further because the agreement was executed after Dalia’s

constructive trust and/or equitable lien came into being with

Arie’s full knowledge of the events that led to it.                Arie’s liens

are at the very least a constructive fraud as against Orly and/or

Dalia and therefore void.

            26.    Eric claims an interest in Orly’s assets including

the Trump Notes as evidenced by a UCC lien he filed in 2017.

Eric’s lien is void because the debt it purports to secure is


                                        12
 20-01010-jlg   Doc 8   Filed 06/07/20 Entered 06/07/20 17:05:36    Main Document
                                     Pg 13 of 20


wholly contrived and false.          Further, he was aware of the events

that created Dalia’s constructive trust and/or equitable lien as

he personally represented Orly before Judge Forrest in 2014 and

thereafter married her.         Eric also asserts a claim against the

Trump Notes through the March 2017 escrow agreement.                 That

agreement was executed after Dalia’s constructive trust and/or

equitable lien came into being with Eric’s full knowledge of the

events that led to it.         Eric’s liens are at the very least a

constructive fraud as against Orly and/or Dalia and therefore

void.

            27.    Broser has asserted contradictory claims against

Orly’s assets, including the Trump Notes, through, alternatively,

the Litigation Trust and ADBG by falsely asserting that such

assets belong to Arie and not to Dalia or Orly.               Broser and his

agents participated in the events that led to the creation of

Dalia’s constructive trust and/or equitable lien and were

therefore aware of its existence and that it would exist once the

conduct they set in motion took place.            Further, the Litigation

Trust was never formed as a matter of New York law, its indenture

does not even purport to take possession of the Trump Notes, and

the Transferees have all made agreements in writing inconsistent

with any claim by the Litigation Trust.             Further, any transfer by

Orly to the Litigation Trust would be a fraudulent conveyance, as

Orly received no consideration or value for it.               The


                                        13
 20-01010-jlg   Doc 8   Filed 06/07/20 Entered 06/07/20 17:05:36   Main Document
                                     Pg 14 of 20


aforementioned liens are at the very least a constructive fraud

as against Orly and/or Dalia and therefore void.

                             DALIA’S FIRST DEMAND

            28.    Upon learning of the 2013 Settlement Agreement and

thus of the fact that both her children had monetized the Rights

she had transferred as part of her 2004 divorce, in 2014, Dalia

made her first request of Orly and Sagi for $200,000 from the

monetized proceeds of the Rights.

            29.    Sagi promptly paid the request, but when he sought

50% indemnity from Orly under the 2004 Agreements, Orly refused,

repudiating her promise evidenced by the 2004 Agreements and

claiming that the Agreement was a forgery and otherwise

unenforceable.

            30.    In 2015, Judge Forrest rejected Orly’s claims and

granted summary judgment in favor of Sagi.             Genger v. Genger, 76

F. Supp. 3d 488 (S.D.N.Y. 2015).

            31.    Judge Forrest disagreed with Orly’s claim that her

Rights were never monetized, holding that: “as it turns out, Orly

has effectively monetized an interest in the very [TRI] shares

she claims not to have received to the tune of $32.3 million.”

76 F. Supp. 3d at 491.

            32.    Orly appealed the judgment against her.             The

Second Circuit unanimously affirmed, finding, inter alia, that

“Orly benefitted from the shares regardless of whether the


                                        14
 20-01010-jlg   Doc 8   Filed 06/07/20 Entered 06/07/20 17:05:36   Main Document
                                     Pg 15 of 20


settlement money went to Orly, or as a gift to Arie . . .”

Genger v. Genger, 663 Fed. App’x 44, 49-50 (2d Cir. 2016).

                            DALIA’S SECOND DEMAND

            33.    In the Fall of 2017, with the validity of the 2004

Agreements now affirmed, Dalia invoked her clawback rights for a

second time, requesting $6 million from Sagi and Orly.

            34.    In response, Orly repudiated the 2004 Agreements

yet again, necessitating further litigation in 2017 in which Orly

argued that Judge Forrest’s finding in 2015 that Orly received

$32.3 million from the sale of the Shares was not binding.

            35.    Judge Forrest again disagreed, finding in 2018

that: “Based on the prior rulings of this Court . . . [and] the

Second Circuit’s subsequent affirmance . . . [it] has been

conclusively established that Sagi and Orly monetized their

beneficial interests in the TRI shares for a total of $69.3

million...”     2018 WL 3632521, *2.

            36.    Judge Forrest calculated the maximum amount to

which Dalia was entitled under the 2004 Agreements to be

approximately $24.7 million:

            Both Dalia and Sagi agree that Dalia’s
            conveyed marital interest of 794.4 shares
            represents 36% of the total TRI shares that
            were monetized. Using that figure, the
            maximum amount payable to Dalia under the
            2004 Integrated Agreement is approximately
            $24.7 million (or 36% of the total $69.3
            million value). Orly has not specifically
            disputed the 36% figure, though she has
            raised unrelated questions about how the so-

                                        15
 20-01010-jlg   Doc 8   Filed 06/07/20 Entered 06/07/20 17:05:36   Main Document
                                     Pg 16 of 20


            called “cap” in the 2004 Integrated Agreement
            affects her obligations to Sagi.

Genger v. Genger, 2018 U.S. Dist. Lexis 126958, *15 (S.D.N.Y.

July 27, 2018).

            37.    Once again, Orly appealed; and once again, the

Second Circuit affirmed.         Genger v. Genger, 771 Fed. App’x 99,

101–02 (2d Cir. 2019).

            38.    Thus, according to two final non-appealable

judgments, of the $32.3 million monetized and received by Orly

pursuant to the 2013 Settlement Agreement, Orly must pay Dalia up

to $12.25 million from the monetized proceeds of the Rights,

representing 50% of the $24.7 million to which Dalia is entitled

under the 2004 Agreements after deducting $200,000 that Dalia

received pursuant to her first demand.

                          THE FRAUDULENT TRANSFERS

            39.    In order to frustrate Dalia’s rights, in 2013 Orly

secretly and fraudulently transferred approximately $17.3 million

of the $32.3 million obtained in the 2013 Settlement Agreement to

creditors and/or business partners of Arie, namely, Broser and

his affiliated entities, including the Litigation Trust and ADBG,

in purported satisfaction of false liabilities and for no

consideration or value to Orly.

            40.    In addition, the Trump Notes were secretly and

fraudulently transferred to Bowen, and the future proceeds



                                        16
 20-01010-jlg   Doc 8   Filed 06/07/20 Entered 06/07/20 17:05:36   Main Document
                                     Pg 17 of 20


thereof fraudulently encumbered, in purported satisfaction of

false liabilities and for no consideration to Orly.

            41.    In 2019, the U.S. District Court for the Southern

District of New York (Broderick, J.) was about to consider a

motion to set aside the above conveyances as fraudulent when Orly

filed this bankruptcy case (originally in Texas) to halt that

proceeding in an attempt to delay and/or totally prevent Dalia

from recovering the financial support which she has demanded from

the monetized proceeds of the Rights pursuant to the 2004

Agreements.

                          AS AND FOR A FIRST CLAIM
                           (Declaratory Judgment)

            42.    The preceding paragraphs are incorporated herein

for all purposes as if set out herein verbatim.

            43.    A confidential and fiduciary relationship of

familial trust and confidence existed between Dalia and her

daughter, Orly, when Dalia transferred the Rights to her.

            44.    Orly promised to pay Dalia from the monetized

proceeds of the Rights and/or reimburse and indemnify Sagi for his

payments to Dalia made pursuant to Dalia’s request.

            45.    Dalia transferred the Rights in reliance on Orly’s

promise.

            46.    In 2014 and thereafter, Orly breached her duty to

Dalia and abused the trust and confidence placed by Dalia in her

by repudiating her promise and refusing to pay Dalia from the

                                        17
 20-01010-jlg   Doc 8   Filed 06/07/20 Entered 06/07/20 17:05:36   Main Document
                                     Pg 18 of 20


proceeds of her monetization of the Rights and/or reimburse and

indemnify Sagi for his payments to Dalia made pursuant to Dalia’s

request.

            47.    Instead, Orly diverted and misappropriated the

proceeds of her monetization of the Rights, including the Trump

Notes, by transferring and encumbering them for no legal

consideration or value to Orly and with the actual and/or

constructive intent to hinder, delay and defraud Dalia.

            48.    The retention of the proceeds of the monetization

of the Rights, including the Trump Notes and any liens thereon,

by Orly, her estate and/or any of the Transferees would unjustly

enrich Orly and the Transferees.

            49.     Orly, her estate and the Transferees may not in

good conscience retain the benefits of Orly’s monetization of the

Rights.

            50.    Construing a constructive trust and/or an

equitable lien as superior to any claim by the Transferees is

necessary to satisfy the demands of equity, promote fairness and

prevent injustice.

            51.    For the foregoing reasons, Dalia seeks a

declaratory judgment that the proceeds of the monetization of the

Shares, including the Trump Notes, up to $12.25 million plus

interest, is held by Orly and the Transferees in constructive

trust and/or an equitable lien for Dalia’s benefit whose interest


                                        18
 20-01010-jlg   Doc 8   Filed 06/07/20 Entered 06/07/20 17:05:36   Main Document
                                     Pg 19 of 20


at all relevant times is and was superior to the interests of

Orly, the Transferees and Debtors’ other creditors.

                         AS AND FOR A SECOND CLAIM
                  (Equitable Remedy of Constructive Trust
                           for Unjust Enrichment)

            52.     The preceding paragraphs are incorporated herein

for all purposes as if set out herein verbatim.

            53.     Dalia has no adequate remedy at law.

            54.     For the foregoing reasons, Dalia is entitled to

the specific enforcement of the remedy of a constructive trust in

her favor and for her benefit upon the proceeds of Orly’s

monetization of the Shares, including the Trump Notes, up to

$12.25 million plus interest, and Bowen should deliver the Trump

Notes, in whole or in part, to Dalia.

                          AS AND FOR A THIRD CLAIM
                              (Equitable Lien)

            55.     The preceding paragraphs are incorporated herein

for all purposes as if set out herein verbatim.

            56.     For the foregoing reasons, Dalia is entitled to

the specific enforcement of an equitable lien in her favor and

for her benefit upon the proceeds of Orly’s monetization of the

Shares, including the Trump Notes, up to $12.25 million plus

interest, and Bowen should deliver the Trump Notes, in whole or

in part, to Dalia.




                                        19
 20-01010-jlg   Doc 8   Filed 06/07/20 Entered 06/07/20 17:05:36   Main Document
                                     Pg 20 of 20


                          AS AND FOR A FOURTH CLAIM
                                 (Injunction)

            57.    The preceding paragraphs are incorporated herein

for all purposes as if set out herein verbatim.

            58.    Dalia will suffer irreparable harm if Orly and/or

the Transferees sell, transfer, assign, encumber, hypothecate or

otherwise alienate the proceeds of Orly’s monetization of the

Rights, including the Trump Notes.

            59.    For the foregoing reasons, Dalia is entitled to a

temporary, preliminary and/or permanent injunction enjoining and

restraining defendants from selling, transferring, assigning,

encumbering, hypothecating, or otherwise alienating the Trump

Notes and mandating that defendants take all actions necessary

for Dalia to receive the proceeds of Orly’s monetization of the

Rights, including the Trump Notes.

            WHEREFORE, Dalia prays for the relief above requested

and for such other and further relief to which she may be justly

entitled, both at law and in equity.

Dated:    New York, New York
          June 7, 2020
                                             __________/s/________________
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                                        20
